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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION


 CRAWFISH & NOODLES LLC,

                           Plaintiff,                Case No. _______________
 v.
                                                     Jury Demanded
 A1 CRAWFISH & NOODLE HOUSE
 LLC,

                           Defendant.



                               ORIGINAL COMPLAINT

       Plaintiff Crawfish & Noodles, LLC (“Crawfish & Noodles”) brings this action

against Defendant A1 Crawfish & Noodle House LLC (“Defendant”) under federal and

Texas state law based on Defendant’s unfair competition and infringement of Plaintiff’s

common-law and federally registered service mark and Plaintiff’s trade name.

                      PARTIES, JURISDICTION, AND VENUE

       1.     Plaintiff Crawfish & Noodles LLC is a Texas limited liability company,

having a principal place of business at its Bellaire Boulevard location in Houston, Texas.

       2.     Defendant A1 Crawfish & Noodle House LLC is a Texas limited liability

company with a registered address at 7631 Tiburon Trl, Sugar Land Texas 77479.

Defendant can be served through its registered agent, Paris H. Ji at 7631 Tiburon Trl, Sugar

Land, Texas 77479. Defendant can also be served through the Texas Secretary of State.




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       3.     This action alleges violations of federal law, namely: unfair competition and

infringement of marks and trade names that are protectable under the Federal Lanham Act,

Title 15 U.S.C. §§ 1051 et seq. (“Lanham Act”), including at least one federally registered

service mark. Accordingly, this Court has original subject matter jurisdiction over the

federal law claims under the Lanham Act, 28 U.S.C. § 1338 (federal jurisdiction over

trademarks and unfair competition), and 28 U.S.C. § 1331 (federal question).

       4.     This action also alleges violations of Texas state law, namely, service mark

and trade name infringement under the Texas common law, and the Texas state law claims

share a common nucleus of operative facts with the federal law claims. Accordingly, this

Court has supplemental subject matter jurisdiction over the Texas state law claims under

28 U.S.C. § 1367.

       5.     This Court has personal jurisdiction over Defendant. Defendant is a Texas

limited liability company with a principal place of business in Houston, Texas. Further, as

set forth below, Defendant has been engaged in doing business in Texas and in this Judicial

District, including committing torts (e.g., acts of infringement) in whole or in part in this

Judicial District and in Texas.

       6.     Venue is proper in this Court under 28 U.S.C. § 1391(b) and (d) because

Defendant is subject to this Court’s personal jurisdiction with respect to this civil action

and Defendant’s contacts with this Judicial District are sufficient to subject Defendant to

the Court’s personal jurisdiction within this Judicial District.




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                               BACKGROUND FACTS

      7.       Chef Trong Nguyen pioneered Viet-Cajun Cuisine when he opened his

restaurant, named Crawfish & Noodles, in Houston, Texas, and in 2008 formed a limited

liability company which he named Crawfish & Noodles LLC. Since then, Plaintiff

Crawfish & Noodles, LLC has continuously provided its unique, Viet-Cajun style

restaurant services from its Bellaire Boulevard location under the CRAWFISH &

NOODLES service mark and trade name.

      8.       Since its opening, the Crawfish & Noodles restaurant has become known

nationally and internationally as a pioneer of Viet-Cajun food. As early as 2011, Crawfish

& Noodles was featured in numerous publications, including The New York Times, Bon

Appétit, The Houston Chronicle, Hemisphere Magazine, Houstonia, Eater, Thrillist, and

Culture Map.

      9.       Crawfish & Noodles has also been featured on numerous national and

international television shows including Travel Channel’s Bizarre Foods Americas,

nationally televised Raw Travel, Netflix’s Ugly Delicious, TRVL Channel’s The Zimmern

List, and Food Network Canada’s Big Food Bucket List. In the 2017 Raw Travel episode

featuring Crawfish & Noodles, host Robert Rose deemed, “Crawfish & Noodles- A

pioneering Viet-Cajun spot.”

      10.      Crawfish & Noodles has also appeared on many popular web video

publications including those produced by Bon Appétit, ZAGAT, Voice of America News,

and Eater. Additionally, an ABC13 piece entitled, Crawfish & Noodles: Bringing

Vietnamese and Cajun flavors together, described Crawfish & Noodles as an essential part

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of the Viet-Cajun cuisine’s birth and upbringing, writing “Crawfish & Noodles, an

Asiatown staple since 2008, is known for sparking the unprecedented trend.”

       11.    Crawfish & Noodles and Chef Nguyen have also received wide recognition

in the restaurant industry in connection with the mark and name CRAWFISH &

NOODLES. For example, in the years 2012, 2013, 2015, 2017, 2018, and 2019, Crawfish

& Noodles has been listed as a top 100 Houstonian restaurant, in The Houston Chronicle’s

annually published Allison Cook’s Top 100 in Houston.

       12.    Chef Nguyen himself has been named by the prestigious James Beard

Foundation in New York as a semifinalist for Best Chef in the Southwest in 2018 and 2019,

and finalist for Best Chef in Texas in 2020. As a result of this publicity and recognition,

people regularly come from outside the city, state, and country to dine at Crawfish &

Noodles.

       13.    Plaintiff’s CRAWFISH & NOODLES mark is inherently distinctive and

eligible for protection under both the federal Lanham Act and Texas common law.

Moreover, Plaintiff’s CRAWFISH & NOODLES mark has acquired distinctiveness and is

eligible for protection on that basis as well.

       14.    Plaintiff is and has been using its mark and trade name in commerce in

accordance with the Lanham Act and federal law and has developed common law rights in

connection with that mark and name. Furthermore, Plaintiff has registered its CRAWFISH

& NOODLES service mark with the United States Patent and Trademark Office, Reg.

Certificate No. 6,064,219 (the “Registered Mark”). A true and correct copy of that

registration certificate is attached hereto as Exhibit A.

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      15.    Defendant is and has been infringing Plaintiff’s common law and federally

registered mark in violation of the federal Lanham Act and Texas common law. In late

2017, nearly a decade after Crawfish & Noodles opened its doors, Defendant opened a

Viet-Cajun food restaurant using several infringing and nearly identical marks and trade

names, including: “King Crawfish & Noodles,” “King Crawfish & Noodle House”, “King

Crawfish Noodle House,” and “A1 Crawfish & Noodle House LLC” (“Infringing Marks”

or “Defendant’s Marks”). Defendant’s “King Crawfish & Noodle House” restaurant is

located in the Houston, Texas area, in Cypress, on Fry Road. Also, Defendant is currently

advertising Defendant’s Marks on its website, www.kingcrawfishnoodle.com, and also on

Tripadvisor®.

      16.    Defendant’s uses of Defendant’s Marks have created a likelihood of

confusion with Plaintiff’s CRAWFISH & NOODLES mark and trade name (“Plaintiff’s

Mark”). Instances of actual confusion have already occurred—for example, multiple

customers have told Chef Nguyen that they have visited his “other location,” referring to

Defendant’s restaurant.

      17.    On information and belief, Defendant intended to benefit from Plaintiff’s

reputation by adopting and using Defendant’s Marks, and by creating an association

between Defendant and Plaintiff in the minds of consumers. Defendant has knowingly and

willfully used names and marks and advertising that have created a likelihood of confusion

with Plaintiff’s Marks, and thus violated Plaintiff’s common-law and registered rights in

the CRAWFISH & NOODLES Mark. Defendant has persisted in its knowing and willful

uses of the Infringing Marks even after receiving objections from the Plaintiff. After

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receiving Plaintiff’s initial request to cease and desist, Defendant refused to take any action.

At the time of the filing of this legal action, Defendant’s website states that due to

renovations, its store is “temporarily closed.” However, Defendant has continued to

advertise its Infringing Marks. Further, Defendant has asserted in at least one social media

posting that it plans to re-open in the near future.

       18.    Plaintiff has been advertising its services using the CRAWFISH &

NOODLES Mark for over 14 years. Plaintiff has invested substantial time, energy, and

money into associating the Plaintiff’s services with the CRAWFISH & NOODLES Mark.

Plaintiff’s Mark represents goodwill associated with the Plaintiff. Accordingly,

Defendant’s continued use of the Infringing Marks in conjunction with Defendant’s own,

inferior, restaurant services has and/or is likely to damage Plaintiff’s reputation and

goodwill; and Plaintiff has no adequate remedy at law.

                                  CAUSES OF ACTION

                                    COUNT I
     (Infringement of Registered Mark under the Lanham Act, 15 U.S.C § 1114)

       19.    The allegations set forth above in paragraphs 1-18 are hereby repeated and

incorporated by reference as if set forth expressly herein.

       20.    Plaintiff began using the Registered Mark CRAWFISH & NOODLES in

connection with its restaurant services over a decade before Defendant first adopted and

began using Defendant’s Marks and Plaintiff is the “senior user” relative to any use by

Defendant of Defendant’s Marks. None of Defendant’s activities with respect to

Defendant’s Marks, including those described above, have ever been authorized by


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Plaintiff. Those activities create a likelihood of confusion and constitute infringement of

Plaintiff’s Registered Mark.

       21.    By using and continuing to use Defendant’s Marks in connection with its

services, Defendant has created a likelihood of confusion, mistake, and/or deception among

relevant consumers regarding source, sponsorship, and/or affiliation of the services offered

and/or provided by Defendant. For example, Defendant’s activities and uses of Defendant’s

Marks are likely to lead the public to falsely conclude that the services offered by

Defendant are authorized by or otherwise connected with the Plaintiff.

       22.    Defendant’s actions complained of above constitute infringement of

Plaintiff’s Registered Mark.

       23.    On information and belief, Defendant selected and began using Defendant’s

Marks with full knowledge of Plaintiff’s Registered Mark and the services offered by

Plaintiff in connection with that Mark and has continued using the Defendant’s Marks with

that knowledge. Defendant has willfully and deliberately traded on the goodwill created by

Plaintiff and has adopted and been using the Defendant’s Marks in bad faith and with an

intent to benefit from Plaintiff’s Mark. Defendant has at the very least, acted with willful

blindness to, or in reckless disregard of, its lack of authority to use marks that are

confusingly similar to the Plaintiff’s Registered Mark, and such uses are likely to confuse

consumers as to the source, sponsorship, affiliation and/or approval of Plaintiff.

       24.    As a result of the Defendant’s wrongful conduct, Plaintiff is entitled to

recover its actual damages, Defendant’s profits attributable to infringement, and damages

and attorney fees pursuant to 15 U.S.C. § 1117 (a).

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       25.    Plaintiff is also entitled to a preliminary and permanent injunction. Plaintiff

has no adequate remedy at law for Defendant’s wrongful use of the Infringing Marks.

Defendant’s infringement constitutes harm to Plaintiff’s reputation and goodwill that

cannot be fully repaired by a monetary award alone, and unless enjoined by the Court,

Defendant’s ongoing conduct is likely to continue creating a likelihood of confusion.

                                     COUNT II
                (Infringement under the Lanham Act, 15 U.S.C § 1125)

       26.    The allegations set forth above in each and all of the preceding paragraphs

are hereby repeated and incorporated by reference as if set forth expressly herein.

       27.    As set forth above, Defendant has used, and continues to use, Defendant’s

Marks, by engaging in activities that create a likelihood of confusion with Plaintiff’s

CRAWFISH & NOODLES Mark and Trade Name. Defendant’s uses of its Infringing

Marks in connection with restaurant services, constitute a false designation of the origin, a

false and misleading description, and a false and misleading representation that

Defendant’s services originate from or are otherwise sponsored or authorized by Plaintiff,

in violation of 15 U.S.C § 1125(a).

       28.    Plaintiff is entitled to recover Defendant’s profits, Plaintiff’s lost profits, and

Plaintiff’s costs to remedy Defendant’s uses of the Infringing Marks, including its

attorney’s fees and costs to bring and pursue this action.

       29.    Plaintiff is also entitled to a preliminary and permanent injunction against

Defendant as well as its officers and agents. Defendant’s uses of any of the Defendant’s

Marks as well as any other public uses of the term “CRAWFISH & NOODLES” in


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connection with restaurant services, has caused and is continuing to cause irreparable injury

to Plaintiff. An award of monetary damages will not fully compensate Plaintiff and Plaintiff

lacks an adequate remedy at law.

                                COUNT III
     (Service Mark and Trade Name Infringement under Texas Common Law)

       30.    The allegations set forth above in each and all of the preceding paragraphs

are hereby repeated and incorporated by reference as if set forth expressly herein.

       31.    Defendant’s acts complained of above have caused—and will continue to

cause—a likelihood of confusion in the minds of consumers, and thus constitute service

mark and trade name infringement under Texas common law.

       32.    As a result of Defendant’s infringing acts, Plaintiff has suffered and

continues to suffer damages, and Plaintiff is entitled compensation for its own damages

due to Defendant’s infringement.

       33.    Defendant’s acts have been and are still deliberate, willful, reckless, and

malicious, entitling Plaintiff to punitive damages.

       34.    Furthermore, in addition to recovering damages, Plaintiff is entitled to a

preliminary and permanent injunction to prevent future actions of infringement by

Defendant under Texas common law.

                                    JURY DEMAND

       35.    Plaintiff hereby demands this case be tried by a jury on all issues so triable.




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                              PRAYER FOR RELIEF

      36.   WHEREFORE, Plaintiff respectfully requests the Court to enter judgment as

follows:

      A.    Plaintiff owns the Plaintiff’s Mark and Trade Name and any other marks that

            include the words “CRAWFISH & NOODLES” in connection with

            restaurant services; and Defendant has infringed Plaintiff’s rights in such

            marks under both the federal Lanham Act and Texas common law, and the

            Court finds the following:

                   i. Defendant has committed service mark infringement under 15
                      U.S.C. § 1114 by Defendant’s uses of any or all of the Infringing
                      Marks in connection with its restaurant services, and also in
                      connection with its advertising and other communications with
                      others; and any and all uses by Defendant of the Infringing Marks
                      or similar marks, in connection with its services creates a
                      likelihood of confusion regarding source, sponsorship, or
                      affiliation of the Parties’ respective services;

                  ii. Defendant has infringed Plaintiff’s Texas common law service
                      mark rights.

      B.    Plaintiff shall be awarded damages caused by Defendant’s unlawful acts, and

            Defendant’s profits related to Defendant’s infringement, including enhanced

            and punitive damages, attorney’s fees, and costs, including the following:

                   i. Plaintiff shall be entitled to recovery of Defendant’s profits, all
                      actual or statutory damages to which Plaintiff is entitled,
                      Plaintiff’s costs, and Plaintiff’s attorney’s fees, all as provided
                      pursuant to 15 U.S.C. § 1117 or otherwise allowed by law.

                  ii. Plaintiff shall be awarded all damages suffered by Plaintiff as a
                      result of Defendant’s infringement of Plaintiff’s common law
                      Mark and Trade Name and all the profits of Defendant attributable
                      to such infringement.

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               iii. Plaintiff shall be awarded all damages suffered by Plaintiff as a
                    result of Defendant’s unfair competition and all the profits of
                    Defendant related to such unfair competition.

               iv. Defendant’s acts of infringement under Texas common law have
                   been deliberate, willful, reckless, and malicious, and Plaintiff is
                   entitled to an award of enhanced damages and attorney’s fees
                   related thereto.

 C.    It shall be ordered that Defendant and each of its affiliates, subsidiaries,

       agents, servants, employees, attorneys, and all persons acting in concert or

       participation with Defendant be preliminarily and permanently enjoined

       from: carrying out any of the aforementioned acts for which Defendant has

       been found liable, including any use of any of Defendant’s Marks, alone or

       in combination with other words; engaging in unfair competition;

       committing any acts likely to cause the public to believe that any of

       Defendant’s uses of its Infringing Marks, with respect to any of Defendant’s

       services, or business operations, are authorized by or related to Plaintiff; and

       from attempting, causing, or assisting any of the above-described acts.

 D.    Defendants shall be ordered to pay Plaintiff pre-judgment interest on all

       amounts awarded and post-judgment interest until paid at the highest lawful

       rate.




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      E.     Plaintiff shall be awarded such other and further relief as the Court deems

             just and equitable.

                                               Respectfully Submitted,

Date: July 27, 2022

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